This document was signed electronically on May 24, 2019, which may be different from its
entry on the record.


IT IS SO ORDERED.

Dated: May 24, 2019




                        THE UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF OHIO
                                   AKRON DIVISION

In Re:                                      )       Case No.: 19-50639
                                            )
BENJAMEN J. BARCZAK,                        )       Chapter 7
TINA M. BARCZAK,                            )
                                            )       Judge Alan M. Koschik
                       Debtors.             )
                                            )       ORDER GRANTING
                                            )       MOTION OF SPECIALIZED LOAN
                                            )       SERVICING LLC, AS SERVICING
                                            )       AGENT FOR WACHOVIA MORTGAGE
                                            )       LOAN TRUST, ASSET-BACKED
                                            )       CERTIFICATES, SERIES 2006-AMN1,
                                            )       U.S. BANK NATIONAL ASSOCIATION,
                                            )       AS TRUSTEE, FOR RELIEF FROM STAY
                                            )       AND ABANDONMENT
                                            )
                                            )       1290 Edgewood Lane
                                            )       Streetsboro, Ohio 44241

         This matter came before the Court on the Motion for Relief from Stay and Abandonment

(the “Motion”) filed by Specialized Loan Servicing LLC, as servicing agent for Wachovia

Mortgage Loan Trust, Asset-Backed Certificates, Series 2006-AMN1, U.S. Bank National

Association, as Trustee (“Movant”)(Doc. 10). Movant has alleged that good cause for granting

the Motion exists, and that Debtors, counsel for the Debtors, the Chapter 7 Trustee, and all




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other necessary parties were served with the Motion, and with notice of the hearing date on the

Motion. No party filed a response or otherwise appeared in opposition to the Motion, or all

responses have been withdrawn. For these reasons, it is appropriate to grant the relief

requested.

       IT IS, THEREFORE, ORDERED that the Motion is granted. The automatic stay

imposed by § 362 of the Bankruptcy Code is terminated with respect to the Movant, its

successors, and assigns.

       IT IS FURTHER ORDERED that the Chapter 7 Trustee is authorized and directed to

abandon the property: 1290 Edgewood Lane, Streetsboro, Ohio 44241.

                                              ###

SUBMITTED BY:

/s/ Alison A. Gill
Alison A. Gill: 0061710
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Westerville, Ohio 43081
Telephone: (614) 523-7575
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Attorneys for Movant

                                        SERVICE LIST

Please serve this Order for Relief from Stay and Abandonment to the persons listed below:

ELECTRONIC MAIL:

Alison A. Gill, Attorney for Movant                 Philip R. Fine, Attorney for Debtor
655 Cooper Road                                     3681 Green Road
Westerville, OH 43081                               Park Center II #410
                                                    Beachwood, OH 44122

Harold A. Corzin, Ch. 7 Trustee                     Office of the U.S. Trustee
304 N. Cleveland-Massillon Road                     201 Superior Avenue East, Suite 441
Commonwealth Square                                 Cleveland, OH 44114
Akron, OH 44333

ORDINARY MAIL:




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Benjamen & Tina Barczak
147 Deerfield Lane
Aurora, OH 44202




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